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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 BOARD OF REGENTS, THE                            )
 UNIVERSITY OF TEXAS SYSTEM                       )
 and TISSUEGEN, INC.,                             )
                                                  )
                                 Plaintiffs,      )              C.A. No. 1:18-cv-00392-GBW
                                                  )
                          V.                      )        C.A. No. 1:18-cv-00392-GBW
                                                  )
 BOSTON SCIENTIFIC                                )
 CORPORATION,                                     )
                                                  )
                                 Defendant.       )



                                   VERDICT FORM {PHASE 1)


          Instructions: When answering the following questions and completing this Verdict

 Form, please follow the directions provided and follow the Jury Instructions that you have been

  given. Your answer to each question must be unanimous. Some of the questions contain legal

  terms that are defined and explained in the Jury Instructions. Please refer to the Jury Instructions if

  you are unsure about the meaning or usage of any legal term that appears in the questions below.

        As used herein:

            1. "UTBOR" refers to Plaintiff The Board of Regents, The University of Texas

                System;

            2. "TissueGen" refers to Plaintiff TissueGen, Inc. ;

            3. "Boston Scientific" refers to Defendant Boston Scientific Corporation; and

            4. The "'296 Patent" refers to U.S. Patent No. 6,596,296.




                                                      1
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QUESTION NO. 1:

Did UTBOR and TissueGen prove by a preponderance of the evidence that Boston Scientific

directly infringed one or more of claims 1, 11, 17, and 26 of the '296 patent?

       "Yes" is a finding in favor of the UTBOR and TissueGen.

       "No" is a finding in favor of Boston Scientific.

                                         YES                  NO

              Claim 1

              Claim 11
                                        ~-es
                                      Cits
              Claim 17
                                       qf'S
              Claim 26
                                       ~ts
If you answer "Yes" to Question No. 1 as to any given claim, you must answer "Yes" to
Question No. 2 as to that claim. If you answer "no" to Question No. 1 as to any given
claim, you should skip Question No. 2 as to only that claim. You must still answer
Question No. 3 as to each claim.




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QUESTION NO.2:

Did Plaintiffs UTBOR and TissueGen prove by a preponderance of the evidence that Boston

Scientific Limited [a Boston Scientific subsidiary] directly infringed one or more of claims 1, 11,

17, and 26 of the '296 patent?

       "Yes" is a finding in favor of the UTBOR and TissueGen.

       "No" is a finding in favor of Boston Scientific.

                                         YES                  NO

              Claim 1
                                       4{S
              Claim 11
                                       4es
              Claim 17
                                       4tS
              Claim 26
                                      ~{5




                                                3
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QUESTION NO. 3:

Did Boston Scientific prove by clear and convincing evidence any of the following claims of the

'296 Patent are invalid?

       "Yes" is a finding in favor of Boston Scientific.

       "No" is a finding in favor ofUTBOR and TissueGen.

                                         YES                NO

              Claim 1
                                                           ND
              Claim 11
                                                           tJO
              Claim 17                                     N\)
              Claim 26
                                                           ~




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       You have now reached the end of the verdict form and you should review it to ensure that

it entirely reflects your unanimous determinations. The Foreperson should then sign the verdict

form in the space below and notify the Court Security Officer that you have reached a verdict. The

Foreperson should retain possession of the verdict form and bring it to the courtroom with the jury.



       Signed:




       Dated:    3 / 0At} cx0o?3




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